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               United States Bankruptcy Court
                                Eastern District of Louisiana



DEBORAH A BIBBINS
4835 SIERRA MADRE DR                                                               14-10206
NEW ORLEANS LA 70127                                                                Chapter 13
                                                                                     Section A



ORDER GRANTING TRUSTEE'S MOTION TO SET ASIDE MOTION TO DISMISS CASE

Considering the Trustee's Motion to Set Aside Motion to Dismiss Case;


IT IS ORDERED that the Motion is granted and the Trustee's Motion to Dismiss Case scheduled
for October 25, 2018 is hereby SET ASIDE AND WITHDRAWN and the hearing is cancelled.


IT IS FURTHER ORDERED that movant shall serve this order on the required parties who will not
receive notice through the ECF system pursuant to the FRBP and the LBRs and file a certificate
of service to that effect within three (3) days.



              New Orleans, Louisiana, October 18, 2018.



                                                 Hon. Elizabeth W. Magner
                                                 U.S. Bankruptcy Judge
